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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )       Criminal No. 1:21-cr-00537-TJK
                        v.                       )
                                                 )
 RYAN SAMSEL,                                    )
                                                 )
                   Defendant.                    )
                                                 )

                                     [PROPOSED] ORDER

          Upon consideration of Defendant Ryan Samsel’s Emergency Motion for Medical

Treatment and Records in the above-captioned matter, it is, this ___ day of September, 2021,

hereby:

          ORDERED that Defendant Ryan Samsel’s Motion is GRANTED; and it is further

          ORDERED that the Central Virginia Reginal Jail and the U.S. Marshal’s Service shall

provide all of Mr. Samsel’s medical records in the possession, custody, or control, to counsel for

Mr. Samsel within forty-eight (48) hours; and it is further

          ORDERED that any medical treatment recommended in the aforementioned records will

be provided promptly.

          SO ORDERED.




                                                       The Honorable Timothy J. Kelly
                                                      United States District Court Judge
